     Case: 1:21-cv-00879 Document #: 42 Filed: 09/23/21 Page 1 of 2 PageID #:99




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SHULRUFF DENTAL INC.,                                  )
on behalf of itself and                                )
the class members defined herein,                      )
                                                       )
                 Plaintiff,                            )       Case No.: 1:21-cv-00879
                                                       )
                 v.                                    )
                                                       )       Magistrate Judge Beth W. Jantz
INTEGRATED CHARTS INC., d/b/a TAB 32,                  )
and JOHN DOES 1-10,                                    )
                                                       )
                 Defendants.                           )

                                STIPULATION OF DISMISSAL

       Plaintiff Shulruff Dental Inc. and Defendant Integrated Charts Inc. pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii) hereby stipulate to the dismissal of Plaintiff’s individual and class claims against

Defendants Integrated Charts, Inc. and Does 1-10 with prejudice and without costs, except as those

costs provided in the Parties’ agreement. Plaintiff dismisses the claims of the unnamed, putative

class members against Defendants Integrated Charts Inc. and Does 1-10 without prejudice and

without costs.

September 23, 2021

Respectfully submitted,

s/ Heather Kolbus                                              s/ Jacky Beda (w/ consent)
Daniel A. Edelman                                              Robert M. Einhorn
Dulijaza (Julie) Clark                                         Mary Nikezic
Heather Kolbus                                                 Jacky Beda
EDELMAN, COMBS, LATTURNER                                      ZARCO EINHORN SALKOWSKI
& GOODWIN, LLC                                                 & BRITO, P.A.
20 S. Clark Street, Suite 1500                                 2 S. Biscayne Blvd., 34th Floor
Chicago, IL 60603                                              Miami, FL 33131
(312) 739-4200                                                 (305) 374-5418

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    Case: 1:21-cv-00879 Document #: 42 Filed: 09/23/21 Page 2 of 2 PageID #:100




                              CERTIFICATE OF SERVICE

       I, Heather Kolbus, hereby certify that on September 23, 2021, I caused a true and
accurate copy of the following document to be filed with the Court’s CM/ECF system, which
caused notification to be sent by email to the following party:

       Robert M. Einhorn – reinhorn@zarcolaw.com
       Mary Nikezic – mnikezic@zarcolaw.com
       Jacky Beda – jbeda@zarcolaw.com
       ZARCO EINHORN SALKOWSKI & BRITO, P.A.
       2 S Biscayne Blvd., 34th Floor
       Miami, FL 33131

                                          s/ Heather Kolbus
                                          Heather Kolbus

Daniel A. Edelman
Dulijaza (Julie) Clark
Heather Kolbus
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 South Clark Street, Suite 1500
Chicago, IL 60603
(312) 739-4200
(312) 419-0379 (FAX)




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